 Case 5:17-cv-00145-TBR Document 13 Filed 04/04/18 Page 1 of 1 PageID #: 137




                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                      PADUCAH DIVISION
                              CIVIL ACTION NO. 5:17-CV-00145-TBR

TIFFANY HAM,                                                                            PLAINTIFF

v.

MIDLAND FUNDING, LLC,                                                                  DEFENDANT


                                     ORDER AND JUDGMENT

          This matter is before the Court on Defendant Midland Funding, LLC’s Motion to

Dismiss, [DN 7.] Plaintiff Tiffany Ham responded, [DN 10], and Midland replied, [DN 11.]

Having reviewed the parties’ submissions, and being otherwise sufficiently advised, for the

reasons set forth in the Court’s Memorandum Opinion filed contemporaneous to this Order and

Judgment,

          IT IS HEREBY ORDERED that Defendant’s motion to dismiss for failure to state a

claim on which relief can be granted, [DN 7], is GRANTED.

          All claims in the above-captioned action shall be DISMISSED WITH PREJUDICE,

and the Clerk is directed to close the case.

          There being no just cause for delay, this is a final and appealable order.

Date:   April 4, 2018

cc:       Counsel
